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        i WOOD ENERGY                      ll    AUG 0 6 2315
      OfSHORE Uf                            AOIUDICATIONSuCTIOM


Augusts, 2015


United State Department of the Interior
Bureau of Ocean Energy Management
1201 Elmwood Park Boulevard
New Orleans, LA 70123-2394

Attn: Adjudication Unit

Re:     Non-Required Filings
        Overriding Royalty Assignment

Gentlemen:

Enclosed for filing in the BOEM Non-Required Filings, Category 5 - Overriding Royalty,
Production Payment, Net Profit are two copies of that certain Overriding Royalty Assignment
("Assignment") between Shell Offshore Inc ("Assignor") and Fieldwood Energy Offshore LLC
("Assignee") dated effective January 1, 2015.

Please record one copy in the files maintained for the below list of leases and return the other
copy BOEM date-stamped to the undersigned for completion of our files.

 1. OCS-G 11043        Green Canyon 244
 2. OCS-G 12210        Green Canyon 201
 3. OCS-G 19760        Vermilion 196

Also enclosed, is a Pay.gov receipt evidencing payment of the required filing fee.

Please feel free to contact me if you have any questions pertaining to the enclosed at 713-969-
1245.

Sincerely.

Fieldwoc/d Energy Offshore LLC



Paula Vera
Senior Land Technician




      Fieldwood Energy Offshore LLC 2000 W. Sam Houston Pkwy S., Suite 1200 Houston, Texas 77042
                                 (713) 969-1000 main (713) 969-1099fax

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                           OVERRIDING ROYALTY ASSIGNMENT

UNITED STATES OF AMERICA              §
OUTER CONTINENTAL SHELF               §
OFFSHORE LOUISIANA                    §


                         OVERRIDING ROYALTY ASSIGNMENT

THIS ASSIGNMENT (herein called "Assignment") is made by SHELL OFFSHORE INC, a
Delaware Corporation ("Assignor"), having a post office address of 701 Poydras Street, New
Orleans, Louisiana 70161, hereinafter referred to as "ASSIGNOR", and FIELDWOOD
ENERGY OFFSHORE LLC ("Fieldwood"), a Delaware limited liability company, having an
address of 2000 W. Sam Houston Parkway S., Suite 1200, Houston, Texas 77042, hereinafter
referred to as "ASSIGNEE."

WITNESSETH:

       WHEREAS, ASSIGNOR desires to sell, and ASSIGNEE desires to purchase, all of
ASSIGNOR'S right, title and interest in those certain overriding royalty interests described on
Attachment "A" hereto ("Overriding Royalty Interests").

       NOW, THEREFORE,

       FOR A GOOD AND VALUABLE CONSIDERATION, THE RECEIPT OF WHICH IS
HEREBY ACKNOWLEDGED, Assignor hereby GRANTS, ASSIGNS, TRANSFERS, SELLS,
AND CONVEYS to Assignee, subject to the terms and conditions contained herein, the
Overriding Royalty Interests.

This Assignment shall be subject to the following terms, conditions, reservations, or exceptions:

       1.     This Assignment is effective as of 7:01 a.m. local time, January 1, 2015 (the
"Effective Date").

       2.    This Assignment shall at all times be subject to and govemed by that certain Asset
Purchase Agreement for the Hickory Unit (the "Agreement") dated effective January 1, 2015, by




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and between Assignor and Assignee. In the event of a conflict between the terms and provisions
ofthis Assignment and those set forth in the Agreement, the terms and provisions set forth in the
Agreement shall control. Any capitalized terms used herein but not defined herein shall be as
defined in the Agreement.

       3.   EXCEPT AS PROVIDED IN THIS ASSIGNMENT OR IN THE
AGREEMENT, THIS ASSIGNMENT IS MADE "AS IS, WHERE IS", AND IS
ACCEPTED BV ASSIGNOR WITHOUT WARRANTV OF T I T L E , EITHER EXPRESS,
STATUTORY OR IMPLIED, EXCEPT ASSIGNOR WARRANTS T I T L E TO THE
OVERRIDING ROYALTY INTEREST BY, THROUGH AND UNDER ASSIGNOR, BUT
NOT OTHERWISE. NOTWITHSTANDING THE ABOVE, ASSIGNEE SHALL HAVE
THE RIGHT OF F U L L SUBSTITUTION AND SUBROGATION IN AND TO ANY AND
A L L RIGHTS AND ACTIONS OF WARRANTY WHICH ASSIGNOR OR ASSIGNOR'S
AFFILIATES OR SUBSIDIARIES MAY HAVE AGAINST ANY AND A L L PRECEDING
OWNERS OR VENDORS OF THE OVERRIDING ROYALTY INTEREST.

        TO HAVE AND HOLD, the interests conveyed here unto Assignee, its successors and
assigns, in accordance with all the terms and provisions of the Leases and subject to all terms and
conditions of the Agreement. Assignee covenants and agrees that the Agreement shall be
referenced in any further assignment by Assignee and its successors and assigns affecting the
Leases and shall constitute covenants running with the land for the benefit of the Assignor and
Assignee.




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IN WITNESS WHEREOF, this Assignment is executed by Assignor and Assignee on the dates
set forth in their respective acknowledgments hereto, but shall be effective as of the Effective
Date and, i f required, subject to the approval of the appropriate regulatory assignment form for
this Assignment by BOEM/BSSE, United States Department of the Interior, pursuant to 30 CFR
556, Subpart J.


WITNESSES (as to all signatures):                      ASSIGNOR

                                                        SHELL OFFSHORE INC.


Print Name:
                                                       By:
                                                       Name:
                                                                               P
                                                       Title:
Print Name:




                                                       ASSIGNEE

                                                       FIELDWOOD ENERGY OFFSHORE LLC

                                                       By:
                                                       Name
                                                       Title
Print Name:7\      I   \l ^ * ^




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    ACKNOWLEDGEMHNTS

   STATE OF TEXAS                 §
                                   K
   COUNTY OF HARRIS               s

              I his. instrument was acknowledged before mc on                  day of               2015, by
 J x X U J n L . S u j f f i h e A ^ j m ^ T o f Shell Offshore Inc., a Delaware corporation
             c                                                                                      behalf of
    said corporation.


   Notary Public in and for ihc Siatc of Texas                                  YVONNE RIVERS
                                                                          Notory Public S'ofe o' Texas
   Nolary Name: V V O V ^ r ^ X l V ^ ^                                     My Commission Expires
   My commission Expires: 3 - K p " ) ^                                          May 16. 2019




   STATE OF TEXAS                 §
   COUNTY OF HARRIS               §

            This instrumcnl was acknowledged before me on ihe'£0 day of J u l y , 2015, by
.ioh*U Stuj-M*        the Vice fitSiolCrfr' of Fieldwood Offshore Energy LLC. a Delaware limited
   liability company, on behalf of said limited liability company.


   Notary Pwnic in ana for the Stale of Texas
   Notary Name: ViVffl/Vt tefAVP- Rffi'taS
   My commission Expires: fi^f. 1 ^lClif   f




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                                           Attachment A


Overriding Royalty Interests:


        Overriding royalty interest equal to 1.00% of 8/8ths reserved by Shell Offshore Inc. after
production reaches 30mmBOE in that certain Assignment of Overriding Royalty Interest effective
September 1, 2010, by and between Shell Offshore Inc. and W & T Energy IV, LLC, fded in the Non-
required file maintained for Lease OCS-G 11043 by the BOEM on November 23, 2010.

        Overriding royalty interest equal to 4.87999% reserved by Shell Offshore Inc. in that certain
Assignment and Conveyance of Overriding Royalty Interest dated effective October 1, 2008 by and
between LLOG Exploration Offshore, Inc., Davis Offshore, L.P., Assignors, Shell Offshore Inc. and
Marathon Oil Company, Assignees covering the NEM Green Canyon Block 201 from the surface to
17,000' subsea TVD.

         Overriding royalty interest equal to 6.25% reserved by Shell Offshore Inc. in that certain
Assignment of Record Title Leasehold Interest dated effective December 1, 1999 between Shell Offshore
Inc., as Assignor, and McMoRan Oil & Gas LLC, as Assignee, covering OCS-G 19760, Vermilion Block
196.




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